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   12                       UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14
                                     WESTERN DIVISION
   15
         IN RE BANC OF CALIFORNIA,                )   Lead Case No. 8:19-cv-00621-AG-
   16    INC. STOCKHOLDER                         )   DFM
         DERIVATIVE LITIGATION                    )   (Consolidated with Case Nos. 8:19-
   17                                             )   CV-1152 and 19-CV-05488)
   18                                             )
         This Document Relates To:                )   VERIFIED CONSOLIDATED
   19                                             )   SHAREHOLDER
                ALL ACTIONS.                      )   DERIVATIVE COMPLAINT
   20                                             )
   21                                             )
                                                  )   DEMAND FOR JURY TRIAL
   22
   23
   24
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     1         Plaintiffs Kristopher Gordon ("Gordon"), Donald Johnston ("Johnston"), and
     2   Colleen Witmer ("Witmer"), sometimes collectively referred to herein as
     3   "Plaintiffs," bring this shareholder derivative action on behalf of nominal defendant
     4   Banc of California, Inc. ("Banc" or the "Company"), a Maryland corporation.
     5   Plaintiffs' allegations are based upon personal knowledge as to Plaintiffs and on
     6   information and belief as to all other matters. Plaintiffs' information and belief is
     7   based upon the investigation conducted by and under the supervision of counsel
     8   which included, among other things, consultation with an accounting expert and a
     9   review and analysis of: (a) Banc's public filings with the U.S. Securities and
   10    Exchange Commission ("SEC"); (b) articles in the news media and analyst reports;
   11    (c) the Company's website and press releases; (d) complaints and related materials
   12    filed in litigation commenced against the Company and certain of Banc's officers
   13    and directors by shareholders and former employees; and (e) applicable rules and
   14    regulations.
   15                               NATURE OF THE ACTION
   16          1.       Banc is a financial institution serving clients in California and the
   17    Western United States.      On October 18, 2016, a post on SeekingAlpha.com
   18    (hereinafter "SeekingAlpha") by "Aurelius" entitled "BANC: Extensive Ties to
   19    Notorious Fraudster Jason Galanis Make Shares Un-Investible" alleged a web of
   20    improper and dangerous relationships between Jason Galanis ("Galanis"), a Los
   21    Angeles financier and convicted fraudster, and Banc's senior managers (the
   22    "Aurelius Blog").
   23          2.       Banc publicly responded to the Aurelius Blog the same day, stating in
   24    a press release that it was already aware of the Galanis allegations, but that Banc's
   25    Board of Directors (the "Board"), acting through "[d]isinterested [d]irectors," had
   26    conducted an "independent" investigation of the matter "led by Winston & Strawn,"
   27    an outside law firm. The press release also claimed that the Board had received
   28    "regular reports" on the progress of the investigation. Banc's press release went on

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     1   to discredit the allegations in the Aurelius Blog and denied the existence of ties
     2   between Galanis and Banc.
     3         3.     On October 19, 2016, these denials were repeated and reinforced by
     4   Banc's General Counsel, defendant John C. Grosvenor ("Grosvenor"), in an investor
     5   conference call, in which he stated that, after becoming aware of potential issues
     6   concerning Galanis as far back as 2015, "the Board of Directors determined to retain
     7   outside counsel to independently investigate the matters raised" of the Galanis
     8   allegations. Defendant Grosvenor reiterated that the Board had received "results of
     9   that investigation" from Winston & Strawn during its review. In addition, the
   10    October 18, 2016 press release was attached to a Form 8-K filed by Banc with the
   11    SEC on October 19, 2016, signed by defendant Grosvenor.
   12          4.     These disclosures revealed that the Galanis allegations had been
   13    known to Banc, but hidden from shareholders, for approximately one year. On or
   14    about October 27, 2016, Banc received an inquiry from its independent auditor,
   15    KPMG LLP ("KPMG"), raising questions about the potential involvement of
   16    Galanis in Banc's finances and operations, and the Company's response to the
   17    allegations in the Aurelius Blog. Around that time, the Board created a purported
   18    Special Committee to investigate the alleged improper relationships and
   19    transactions. The Special Committee included at least four board members who
   20    were themselves mentioned in the Aurelius Blog as having undisclosed conflicts of
   21    interest or other questionable associations.
   22          5.     On January 23, 2017, Banc reported the Special Committee's
   23    conclusion that the Galanis allegations as they related to Banc were not true.
   24    However, the Special Committee also reported that the October 18, 2016 press
   25    release describing its process itself "contained inaccurate statements." Specifically,
   26    the Special Committee revealed that, contrary to that press release, Winston &
   27    Strawn's earlier investigation was not directed by "[d]isinterested" board members,
   28

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     1   but by "management," that Winston & Strawn was not "independent" of Banc, and
     2   that the Board had not received "regular reports" of the investigation at all.
     3         6.     Banc disclosed that its misleading October 18, 2016 response to
     4   Aurelius Blog post had triggered an SEC subpoena. An SEC investigation was also
     5   commenced, captioned In the Matter of Banc of California NY-09592, which
     6   remains ongoing over two years later.
     7         7.     Banc's officers and directors named herein have breached their duties
     8   to the Company in connection with the unfolding scandal at Banc. These officers
     9   and directors authorized, endorsed, and/or failed to correct the Company's
   10    misleading October 18, 2016 press release and October 19, 2016 statements issued
   11    by and on behalf of the Board.
   12          8.     In addition, Banc admitted in its Annual Report on Form 10-K for
   13    2016 ("2016 Form 10-K"), filed with the SEC on March 1, 2017, that it suffered
   14    from material weaknesses of its internal controls in 2016, including an
   15    inappropriate "tone at the top," which weaknesses were, at all relevant times, the
   16    direct responsibility of management and the Board.
   17          9.     Furthermore, by order dated September 6, 2017, U.S. District Judge
   18    Andrew J. Guilford of this Court sustained allegations that purchasers of Banc stock
   19    were defrauded by Banc's failure to disclose the alleged Galanis relationships in the
   20    Company's 2016 Proxy Statement.          See In re Banc of California Securities
   21    Litigation, No. SACV-17-00118 AG (ECF No. 68.) According to the Court, the
   22    securities class action plaintiffs' allegations raised an inference that, in failing to
   23    disclose these alleged relationships to investors, Banc acted with scienter, or intent
   24    to defraud investors.
   25          10.    These actions have severely damaged Banc. After the Aurelius Blog
   26    posting, Banc plunged into chaos as a direct result of defendants' misconduct,
   27    including the active SEC investigation they precipitated, and the securities fraud
   28    litigation. In addition, Banc was subjected to multiple lawsuits by former top

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     1   executives. These executives allege that Banc's Board suffered from rampant
     2   conflicts of interest, and that Banc manipulated its accounting and issued false
     3   financial statements for 2016 and 2017 to prop up its results.
     4         11.    As alleged herein, plaintiffs Gordon, Johnston, and Witmer made
     5   shareholder litigation demands ("Demands") on the Board to investigate these
     6   matters, and to take action to enforce the Company's claims against the wrongdoers.
     7         12.    Each of the Demands were refused by a substantially similar letter
     8   dated January 4, 2019, written by defendant Robert Sznewajs ("Sznewajs"),
     9   Chairman of the Board, and himself a target of the allegations raised in the Demands
   10    (the "Rejection Letter"). Defendant Sznewajs wrote that an "Ad Hoc" Committee
   11    of three (3) directors (of the nine (9) member Board) had prepared a written report
   12    recommending to the Board that no claims be pursued. The Board had then
   13    "adopted" the "Ad Hoc" Committee's recommendations.
   14          13.    Each plaintiff requested that the Board provide them with the "Ad
   15    Hoc" Committee's purported written report, and other supporting documentation,
   16    to substantiate the bases for the Rejection Letter. In each case, defendant Sznewajs
   17    or Company counsel stated that the Board would not share the report or any other
   18    materials with Plaintiffs.
   19          14.    As alleged herein, the Board's investigation was neither reasonable nor
   20    performed in good faith. The Board's review process was structurally flawed from
   21    the outset. The "Ad Hoc" Committee appointed to investigate Plaintiffs' Demands
   22    provided its report and recommendations to the full Board, which had the authority
   23    to vote on the proposed course of action. The Board retained this authority, even
   24    though a majority of the Board members who voted (5 of 9) were directly implicated
   25    in the alleged wrongdoing set forth in the Demands.
   26          15.    Then, the Board refused to share the written report with Plaintiffs
   27    while providing no justification, hiding its work from Plaintiffs and raising a strong
   28    inference that the "Ad Hoc" Committee's investigation was indefensible.

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     1         16.    Indeed, the Rejection Letter is rife with generalities and conclusory
     2   statements. For example, the Rejection Letter states that the "Ad Hoc" Committee
     3   interviewed "multiple" witnesses, reviewed "multiple" documents and SEC filings,
     4   and reviewed witness deposition transcripts from other proceedings, but fails to
     5   identify any of these sources of information with particularity. The Rejection Letter
     6   repeatedly states that the "Ad Hoc" Committee "discovered no evidence" of
     7   wrongdoing, while failing to describe any of the evidence at all. It failed to analyze
     8   claims on a person-by-person, individual basis, and failed to account for the
     9   disastrous SEC investigation or the securities class action litigation. Furthermore,
   10    the Rejection Letter fails to even respond to many of the specific issues raised in
   11    the Demands.
   12          17.    The Board's flawed process and lack of diligence described herein
   13    supports the reasonable inference that its investigation was not the product of an
   14    independent review, that it was unreasonable, and that its decision-making process
   15    was not undertaken in good faith. As a result, notwithstanding Banc's exposure to
   16    an ongoing SEC investigation and the disastrous consequences of defendants'
   17    misconduct, no fiduciary is being held to account.
   18          18.    Plaintiffs' Demands were wrongfully refused and this action—which
   19    seeks to recoup the losses that Banc has sustained, and will sustain, in connection
   20    with the Galanis scandal and related fall-out—must now proceed.
   21          19.    Banc's shareholders have been denied the benefits of loyal
   22    management by its executives and directors. As described more fully below, Banc
   23    and its shareholders are entitled to monetary and injunctive relief to redress the
   24    defendants' bad faith conduct.
   25                             JURISDICTION AND VENUE
   26          20.    Banc is a corporation that conducts business and maintains its
   27    executive headquarters in this District. The Individual Defendants (as defined
   28    below) have sufficient minimum contacts with this District to render the exercise

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     1   of jurisdiction by this Court permissible under traditional notions of fair play and
     2   substantial justice.
     3         21.    Jurisdiction is based on 28 U.S.C. § 1332(a)(2), there being diversity
     4   of citizenship between Plaintiffs and defendants because Plaintiffs, on the one hand,
     5   and the defendants, on the other, are citizens of different states. The amount in
     6   controversy exceeds $75,000, exclusive of interest and costs.
     7         22.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(c) and (d).
     8   Further, a substantial portion of the acts and transactions giving rise to the violations
     9   of law complained of herein occurred in this District.
   10                                       THE PARTIES
   11          23.    Plaintiff Gordon was a shareholder of Banc at the time of the
   12    wrongdoing complained of, has continuously been a shareholder since that time,
   13    and is a current Banc shareholder. Plaintiff Gordon is a citizen of Georgia.
   14          24.    Plaintiff Johnston was a shareholder of Banc at the time of the
   15    wrongdoing complained of, has continuously been a shareholder since that time,
   16    and is a current Banc shareholder. Plaintiff Johnston is a citizen of Ohio.
   17          25.    Plaintiff Witmer was a shareholder of Banc at the time of the
   18    wrongdoing complained of, has continuously been a shareholder since that time,
   19    and is a current Banc shareholder. Plaintiff Witmer is a citizen of North Carolina.
   20          26.    Nominal defendant Banc is a Maryland corporation with its principal
   21    executive offices located at 3 MacArthur Place, Santa Ana, California. Banc is a
   22    financial holding company that conducts business through its sole subsidiary, Banc
   23    of California, National Association, which operates thirty-two branch locations that
   24    provide core banking products and services to private businesses, entrepreneurs,
   25    and communities throughout California. As of December 31, 2018, the Company
   26    had 741 full- and part-time employees. Banc common stock trades on the New York
   27    Stock Exchange ("NYSE") under the ticker symbol "BANC." Nominal defendant
   28    Banc is a citizen of California.

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     1           27.   Defendant Halle J. Benett ("Benett") was a director of Banc from
     2   December 2013 until his "retirement" from the Board, as announced on November
     3   7, 2019. At relevant times, defendant Benett served on Banc's Joint Audit
     4   Committee and Compensation, Nominating and Corporate Governance Committee.
     5   Defendant Benett knew about the internal investigation of alleged connections
     6   between Galanis and Banc officers and directors since at least 2015, which Banc
     7   failed to timely disclose. He was also responsible for the October 18, 2016 press
     8   release by Banc that made false statements about the Board's Galanis investigation,
     9   triggering a subpoena from the SEC. Banc paid defendant Benett the following
   10    compensation as a director:
   11                    Fees
   12                  Earned or
           Fiscal       Paid in       Stock      Option         Other
   13      Year          Cash       Awards       Awards      Compensation        Total
           2018        $103,750     $103,760        -           $5,747          $213,257
   14      2017        $136,555     $103,750        -           $7,919          $248,224
   15      2016        $113,333     $110,012        -           $6,688          $230,033
           2015        $110,000      $90,008     $19,999        $4,551          $224,558
   16
   17    Defendant Benett is a citizen of New York.
   18            28.   Defendant Jonah F. Schnel ("Schnel") is a Banc director and has been
   19    since April 2013. Defendant Schnel is a member of the Joint Nominating and
   20    Corporate Governance Committee and has been since at least February 2017.
   21    Defendant Schnel was a member of the Joint Audit Committee from at least April
   22    2015 to at least April 2016; and a member of the Joint Compensation, Nominating
   23    and Corporate Governance Committee from at least April 2015 to at least April
   24    2016.     Defendant Schnel knew about the internal investigation of alleged
   25    connections between Galanis and Banc officers and directors since at least 2015,
   26    which Banc failed to timely disclose. He was also responsible for the October 18,
   27    2016 press release by Banc that made false statements about the Board's Galanis
   28

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     1   investigation, which triggered a subpoena from the SEC. Banc paid defendant
     2   Schnel the following compensation as a director:
     3                 Fees
     4               Earned or
           Fiscal     Paid in        Stock        Option        Other
     5     Year        Cash         Awards        Awards     Compensation        Total
           2018      $102,500       $102,500         -          $7,838          $212,838
     6     2017      $134,147       $102,500         -         $10,986          $247,633
     7     2016      $140,833       $184,312         -          $8,504          $333,649
           2015      $130,000       $110,000      $19,999       $5,563          $265,562
     8
     9   Defendant Schnel is a citizen of California.
   10          29.    Defendant Jeffrey Karish ("Karish") was a director of the Company
   11    from 2011 to 2018. At relevant times, defendant Karish served on Banc's Joint
   12    Audit Committee and Compensation and Human Capital Committee from at least
   13    April 2015 to May 2018. Defendant Karish knew about the internal investigation
   14    of alleged connections between Galanis and Banc officers and directors since at
   15    least 2015, which Banc failed to timely disclose. He was also responsible for the
   16    October 18, 2016 press release by Banc that made false statements about the Board's
   17    Galanis investigation, which triggered a subpoena from the SEC. Banc paid
   18    defendant Karish the following compensation as a director:
   19                  Fees
   20                Earned or
           Fiscal     Paid in        Stock        Option        Other
   21      Year        Cash         Awards        Awards     Compensation        Total
           2018       $41,667       $344,401         -          $3,354          $389,422
   22      2017      $133,430       $100,000         -          $8,464          $241,894
   23      2016      $124,167       $110,012         -          $7,349          $241,528
           2015      $120,000       $100,004      $19,999       $5,057          $245,060
   24
   25    Defendant Karish is a citizen of California.
   26          30.    Defendant Sznewajs was appointed as Chair of the Board in January
   27    2017 after having served as a director since 2013. Defendant Sznewajs serves as a
   28    Board designated "financial expert" and is a member of Banc's Joint Audit

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     1   Committee and Compensation and Human Capital Committee, and was the
     2   Chairman of the Joint Audit Committee from at least April 2015 to at least February
     3   2017.    Defendant Sznewajs knew about the internal investigation of alleged
     4   connections between Galanis and Banc officers and directors since at least 2015,
     5   which Banc failed to timely disclose. He was also responsible for the October 18,
     6   2016 press release by Banc that made false statements about the Board's Galanis
     7   investigation, which triggered a subpoena from the SEC. Banc paid defendant
     8   Sznewajs the following compensation as a director:
     9                   Fees
    10                 Earned or
           Fiscal       Paid in     Stock        Option          Other
    11     Year          Cash      Awards        Awards       Compensation       Total
           2018        $141,875    $143,760         -            $6,337         $291,972
    12     2017        $172,904    $140,000         -            $8,737         $321,641
    13     2016        $130,000    $120,003         -            $7,416         $257,419
           2015        $120,000    $100,004      $19,999         $5,057         $245,060
    14
    15   Defendant Sznewajs is a citizen of Oregon.
    16           31.   Defendant Eric L. Holoman ("Holoman") served as a director of the
    17   Company from July 2013 until June 2017.           Holoman served on the Joint
    18   Compensation, Nominating and Corporate Governance Committee of the Board.
    19   Defendant Holoman knew about the internal investigation of alleged connections
    20   between Galanis and Banc officers and directors since at least 2015, which Banc
    21   failed to timely disclose. He was also responsible for the October 18, 2016 press
    22   release by Banc that made false statements about the Board's Galanis investigation,
    23   which triggered a subpoena from the SEC. Banc paid defendant Holoman the
    24   following compensation as a director:
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                       Fees
     1               Earned or
     2     Fiscal     Paid in       Stock        Option         Other
           Year        Cash        Awards        Awards      Compensation        Total
     3     2017       $64,335      $397,703         -           $4,668          $466,706
     4     2016      $130,000      $120,003         -           $7,416          $257,419
           2015      $120,000      $100,004      $19,999        $5,057          $245,060
     5
     6   Defendant Holoman is a citizen of California.
     7         32.   Defendant Chad T. Brownstein ("Brownstein") served as a director of
     8   the Company from May 2011 until February 2017. Brownstein served on the Joint
     9   Compensation, Nominating and Corporate Governance Committee of the Board.
    10   Defendant Brownstein knew about the internal investigation of alleged connections
    11   between Galanis and Banc officers and directors since at least 2015, which Banc
    12   failed to timely disclose. He was also responsible for the October 18, 2016 press
    13   release by Banc that made false statements about the Board's Galanis investigation,
    14   which triggered a subpoena from the SEC. Banc paid defendant Brownstein the
    15   following compensation as a director:
    16                 Fees
    17               Earned or
           Fiscal     Paid in       Stock        Option         Other
    18     Year        Cash        Awards        Awards      Compensation        Total
           2017       $24,167      $372,146         -           $2,986          $399,299
    19     2016      $182,917      $180,041         -           $9,684          $372,642
    20     2015      $160,000      $140,003      $19,999        $7,080          $327,082
    21   Defendant Brownstein is a citizen of California.
    22         33.   Defendant Richard J. Lashley ("Lashley") is a Banc director and has
    23   been since February 2017. Defendant Lashley is, and at all relevant times has been,
    24   a member of the Joint Audit Committee and the Nominating and Corporate
    25   Governance Committee and has been since at least February 2018. Lashley is co-
    26   founder of PL Capital, LLC, and managing member of PL Capital Advisors, LLC,
    27   which owned 3,427,219 shares of Banc's common stock as of 2017. Defendant
    28   Lashley knew about the improper bonus accounting used by Banc to inflate its

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     1   financial results for the first quarter of fiscal year 2017, as alleged herein. Banc
     2   paid defendant Lashley the following compensation as a director:
     3                                       Fees
     4                                     Earned or
                               Fiscal       Paid in           Stock
     5                         Year          Cash            Awards             Total
                               2018        $105,000          $105,000          $210,000
     6                         2017         $87,937          $105,000          $192,937
     7
     8   Defendant Lashley is a citizen of California.
     9            34.   Defendant Douglas H. Bowers ("Bowers") was Chief Executive
    10   Officer ("CEO") and a director of the Company from May 2017 through March
    11   2019. Banc paid Defendant Bowers the following compensation:
    12                                                        Non-
    13                                                       Equity
                                                   Stock    Incentive
    14    Year Salary              Bonus          Awards      Plan     Other                      Total
    15    2018 $715,625              -            $507,524 $314,633    $7,417                   $1,545,199
          2017 $424,242           $500,000       $1,157,975     -     $154,634                  $2,236,851
    16
    17   Defendant Bowers is a citizen of California.
    18            35.   Defendant Grosvenor was Banc's General Counsel and Corporate
    19   Secretary from 2012 until 2019. Defendant Grosvenor made false statements to
    20   shareholders regarding the October 18, 2016 press release issued by Banc, as
    21   alleged herein. Banc paid defendant Grosvenor the following compensation:
    22                                                                     Non-Equity
                                                          Stock Option   Incentive Plan All Other
    23     Year      Salary      Bonus     Stock Awards      Awards      Compensation Compensation      Total
           2017     $500,000        -         $269,694          -           $131,875    $28,598       $930,167
           2016     $501,378        -         $400,045          -           $200,000    $34,431      $1,135,854
    24     2015     $389,583    $400,000      $400,001      $238,200            -       $145,315     $1,573,099

    25
    26   Defendant Grosvenor is a citizen of California.
    27            36.   The defendants identified in ¶¶27-35 are sometimes collectively
    28   referred to herein as the as the "Individual Defendants."

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     1                          BOARD AND OFFICER DUTIES
     2   Duties of the Individual Defendants
     3         37.    Under Maryland law, each Individual Defendant owed and owes Banc
     4   and its shareholders fiduciary obligations and due care. Each Individual Defendant
     5   was and is required to act in good faith, in a manner the director reasonably believes
     6   to be in the best interests of the corporation, and with the care that an ordinarily
     7   prudent person in a like position would use under similar circumstances. Maryland
     8   law defines "act" to include an act, an omission, a failure to act, or a determination
     9   made not to act.
    10         38.    To discharge their duties, Banc's officers and directors were required to
    11   exercise reasonable and prudent supervision over the management, policies,
    12   practices, and controls of the Company. By virtue of such duties, the officers and
    13   directors of Banc were required to ensure the Company complied with its legal
    14   obligations and requirements, including complying with regulatory requirements by
    15   devising and implementing a system of internal controls sufficient to ensure the
    16   accuracy of Banc's financial statements and reporting.
    17
               39.    Banc's officers and directors were required to remain informed as to
    18
         how Banc conducted its operations, and upon receipt of notice or information of
    19
         imprudent or unsound conditions or practices, make reasonable inquiry in
    20
         connection therewith, and take steps to correct such conditions or practices as
    21
         necessary to comply with applicable laws.
    22
               40.    The officers and directors were also required to comply with Banc's
    23
         Code of Business Conduct and Ethics (the "Code"), which sets forth written
    24
         standards that are designed to deter wrongdoing and to promote: (a) honest and
    25
         ethical conduct; (b) avoid conflicts of interest, or the appearance of conflicts;
    26
         (c) full, fair, accurate, timely and understandable disclosure in public
    27
         communications; (d) compliance with laws, rules and regulations; (e) prompt
    28

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     1   internal reporting of violations of the Code; and (f) accountability for adherence to
     2   the Code.
     3         41.      Among the many requirements prescribed by the Code, the following
     4   are notable provisions, which the Individual Defendants ignored: (a) "The ethical
     5   management of both personal and business affairs is most important to all directors,
     6   officers and employees in order to avoid situations that might lead to a conflict, or
     7   even suspicion of a conflict, between personal interest and responsibility to the
     8   Corporation. Your position should never be used directly or indirectly for private
     9   gain, for advancement of personal interests or to obtain favors or benefits for
    10   oneself, customers, or suppliers"; and (b) "It is the Corporation's policy that
    11   directors, officers and employees may not engage in conduct which will conflict
    12   with the interests of the Corporation. It is important to avoid even the appearance
    13   of a conflict of interest, since the appearance of a conflict of interest can be as
    14   damaging as an actual conflict, whether to the reputation of the Corporation or the
    15
         individual."
    16
               42.      At relevant times, Individual Defendants Benett, Karish, Sznewajs,
    17
         and Lashley served as Joint Audit Committee members, with Lashley as Chairman.
    18
         The Joint Audit Committee is responsible for the integrity of the Company's
    19
         financial statements and accounting practices, the accounting and financial
    20
         reporting processes of the Company and the audits of the financial statements, the
    21
         effectiveness of the Company's internal controls over financial reporting, and the
    22
         Company's compliance with legal and regulatory requirements.
    23
               43.      The members of the Joint Audit Committee were required to comply
    24
         with Banc's Audit Committee Charter. Among other things, the Joint Audit
    25
         Committee Charter expressly stated that the purpose of the Joint Audit Committee
    26
         is to assist the Board of Directors in fulfilling its oversight responsibilities
    27
         regarding, inter alia, the integrity of the corporation's financial statements and the
    28
         corporation's compliance with legal and regulatory requirements.
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     1         44.    In connection with its oversight responsibility for the integrity of the
     2   Company's financial statements and the adequacy and reliability of disclosures to
     3   shareholders, the Joint Audit Committee members were, and are, responsible for
     4   conducting, among others, the following activities: (a) review and approve, prior to
     5   filing, the Company's Quarterly Reports on Form 10-Q and Annual Reports on
     6   Form 10-K; (b) review and pre-approve, prior to release, all public communications
     7   issued by the Company; (c) review with the Board of Directors any issues that arise
     8   with respect to the quality or integrity of the Company's financial statements, the
     9   Company's compliance with legal or regulatory requirements; (d) review
    10   management's report on its assessment of the effectiveness of internal control over
    11   financial reporting as of the end of each fiscal year, and the independent registered
    12   public accounting firm's annual report on (i) management's assessment, and (ii) the
    13   effectiveness of internal control over financial reporting; (e) discuss with the
    14   independent registered public accounting firm the characterization and nature of
    15   any significant deficiencies or material weaknesses in internal control over financial
    16   reporting and any differences between management's assessment of the deficiencies
    17   and the independent registered public accounting firms.           The Joint     Audit
    18   Committee must also discuss with management its remediation plan to address any
    19   internal control deficiencies or weaknesses; (f) discuss with management and the
    20   independent registered public accounting firm, as of the end of each fiscal quarter,
    21   any changes in internal control over financial reporting that have materially affected
    22   or are reasonably likely to materially affect the Company's internal control over
    23   financial reporting that are required to be disclosed; and (g) discuss with
    24   management the Company's major financial risk exposures and the steps
    25   management has taken to monitor and control such exposures, including the
    26   Company's risk assessment and risk management policies.
    27
    28

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                        CONSPIRACY, AIDING AND ABETTING, AND
     1                          CONCERTED ACTION
     2         45.    In committing the wrongful acts alleged herein, the Individual
     3   Defendants have pursued, or joined in the pursuit of, a common course of conduct,
     4   and have acted in concert with and conspired with one another in furtherance of
     5   their common plan or design. In addition to the wrongful conduct herein alleged as
     6   giving rise to primary liability, the Individual Defendants aided and abetted and/or
     7   assisted each other in breaching their respective duties.
     8         46.    During all times relevant hereto, the Individual Defendants,
     9   collectively and individually, initiated a course of conduct that was designed to and
    10   did: (a) deceive investors and shareholders of Banc regarding the Individual
    11   Defendants' management of Banc's operations and connections with known
    12   criminals; and (b) enhance the Individual Defendants' executive and directorial
    13   positions at Banc and the profits, power, and prestige that the Individual Defendants
    14   enjoyed as a result of holding these positions.        In furtherance of this plan,
    15   conspiracy, and course of conduct, the Individual Defendants, collectively and
    16   individually, took the actions set forth herein.
    17         47.    The Individual Defendants engaged in a conspiracy, common
    18   enterprise, and/or common course of conduct. During this time, the Individual
    19   Defendants caused the Company to issue various improper statements.
    20         48.    The purpose and effect of the Individual Defendants' conspiracy,
    21   common enterprise, and/or common course of conduct was, among other things, to
    22   disguise the Individual Defendants' breaches of fiduciary duty and unjust
    23   enrichment; and to conceal adverse information concerning the Company's
    24   operations, internal controls, financial condition, and future business prospects.
    25         49.    The Individual Defendants accomplished their conspiracy, common
    26   enterprise, and/or common course of conduct by causing the Company to
    27   purposefully or recklessly release improper statements.        Because the actions
    28   described herein occurred under the authority of the Board, each of the Individual
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     1   Defendants was a direct, necessary, and substantial participant in the conspiracy,
     2   common enterprise, and/or common course of conduct complained of herein.
     3         50.   Each of the Individual Defendants aided and abetted and rendered
     4   substantial assistance in the wrongs complained of herein. In taking such actions
     5   to substantially assist the commission of the wrongdoing complained of herein,
     6   each Individual Defendant acted with knowledge of the primary wrongdoing,
     7   substantially assisted in the accomplishment of that wrongdoing, and was aware of
     8   his overall contribution to and furtherance of the wrongdoing.
     9                     RELEVANT FACTUAL ALLEGATIONS
    10         A.    Background
    11         51.   In 2010, Banc's predecessor entity, First PacTrust Bancorp, Inc. ("First
    12   PacTrust"), was struggling in the post-recession economy. COR Capital LLC
    13   ("COR") helped contribute $60 million to revitalize the bank. COR was owned and
    14   managed by Steven A. Sugarman ("Sugarman"), who joined First PacTrust's Board
    15   of Directors. On September 21, 2012, Sugarman became First PacTrust's CEO.
    16         52.   In July 2013, First PacTrust renamed itself Banc of California, Inc. and
    17   promoted itself as a "community investment leader."              Banc experienced
    18   phenomenal growth since 2010 as its assets grew to more than $10 billion.
    19         B.    The Aurelius Blog
    20         53.   On October 18, 2016, SeekingAlpha published the Aurelius Blog
    21   entitled "BANC: Extensive Ties to Notorious Fraudster Jason Galanis Make Shares
    22   Un-Investable," written by an anonymous blogger known as Aurelius. It claimed,
    23   among other things, that Banc directors Sugarman and Brownstein, along with
    24   another top executive, had certain ties to Galanis. Galanis was a convicted felon
    25   with a reputation for looting public companies.
    26         54.   The Aurelius Blog described Galanis' history of criminal conduct and
    27   provided links to source documents that included SEC complaints and criminal
    28   indictments. Specifically, the Aurelius Blog alleged how, on September 24, 2015,

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     1   the U.S. Department of Justice ("DOJ") and the SEC charged Galanis with
     2   orchestrating multiple schemes to defraud investors.
     3         55.    The Aurelius Blog alleged how, from 2009 to 2011, Galanis and others
     4   engaged in a scheme to defraud the shareholders of a publicly-traded company
     5   called Gerova Financial Group, Ltd. ("Gerova") by obtaining secret control over
     6   millions of shares of stock and then manipulating the market for the stock as the
     7   defendants caused their secretly held shares to be sold.
     8         56.    As part of the scheme, Galanis fraudulently generated demand for
     9   Gerova stock by bribing investment advisers to purchase for client accounts the
    10   Gerova stock that was sold by Galanis and others, thereby enabling Galanis to cash
    11   out from the scheme and make millions in illegal profits.
    12         57.    Galanis pled guilty to these charges in July 2016 and was sentenced to
    13   eleven years in prison in February 2017.
    14         58.    In May 2016, while he was out on bail for the Gerova fraud, the DOJ
    15   and SEC again charged Galanis with securities fraud, this time in connection with
    16   a Ponzi scheme to defraud investors and a Native American tribal entity of tens of
    17   millions of dollars ("Tribal Bond Scheme").
    18         59.    Galanis and other co-conspirators allegedly induced a Native
    19   American tribal entity to issue bonds based on lies about how the bond proceeds
    20   would be invested. Galanis and the others pocketed the proceeds. Galanis also
    21   allegedly defrauded investors into buying the bonds by hiding material facts.
    22   Galanis pled guilty to the Tribal Bond Scheme in January 2017.
    23         60.    The Aurelius Blog alleged that Sugarman's COR and Galanis
    24   controlled the same offshore insurance company, Valor Group Ltd. ("Valor"), a
    25   Bermuda based holding company. Valor and its subsidiaries were central to the
    26   Tribal Bond Scheme and were used by Galanis to carry out the fraud. The Aurelius
    27   Blog alleged that a specific Valor subsidiary also played a role in the Tribal Bond
    28   Scheme, and was part of COR.

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     1         61.   In particular, COR entities were also accused of facilitating the Tribal
     2   Bond Scheme.     Specifically, Wealth-Assurance AG acted as Valor's primary
     3   insurance subsidiary, and Burnham Securities Inc. which maintained its
     4   headquarters in the same building as Banc, served as the placement agent for the
     5   bonds. COR itself was listed by Galanis as a financial sponsor of the fraudulent
     6   bonds and references to COR's relationship with Banc appeared on documents used
     7   by Galanis to enhance his credibility with investors he was defrauding.
     8         62.   Documents obtained by the SEC in its investigation of the Tribal Bond
     9   Scheme show that Galanis used his alleged connection with COR to demonstrate
    10   his financial backing to perpetrate the fraud. During the Tribal Bond Scheme,
    11   Galanis also represented to his co-conspirators that he controlled companies
    12   associated with COR, including COR itself.
    13         63.   The Aurelius Blog and accompanying documents also suggested that
    14   Sugarman held a majority interest in an entity named JAS Partners 1, LLC ("JAS
    15   Partners"). JAS Partners, along with another Banc executive, controlled Camden
    16   Capital Partners, LLC ("Camden"). According to the Aurelius Blog, Camden was
    17   used to finance Galanis during the Tribal Bond Scheme and was also utilized by
    18   Galanis during the Gerova securities fraud.
    19         64.   In addition, the Aurelius Blog alleged ties between Galanis and
    20   defendant Brownstein.    In 2011, a private investment firm run by defendant
    21   Brownstein was a major investor in Prospect Global Resources, Inc. ("Prospect
    22   Global"), an entity which the SEC identified as a company Galanis controlled, and
    23   to which he funneled money obtained through his frauds.
    24         65.   As far back as 2015, Banc's management knew of these supposed
    25   connections between the Company and the serial fraudster Galanis. Indeed, the
    26   Company convened an internal investigation into Galanis' control over COR.
    27   Through this investigation, Banc became aware of not only Galanis' troubled
    28

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     1   history with white collar crime, but his use of Banc's goodwill and name in
     2   furtherance of his schemes while running them from COR offices.
     3         66.    Instead of making its findings public, Banc fiduciaries concealed the
     4   impact of this internal investigation from shareholders at the expense of the
     5   Company's integrity and reputation.
     6         C.     Banc Makes Multiple False Statements About the Aurelius Blog
     7         67.    In response to the disclosures in the Aurelius Blog, Banc quickly
     8   issued a press release trying to contain the fallout. Banc revealed in a press release
     9   and investor call that, although it had never been disclosed, the Board had been
    10   aware of the allegations for approximately a year, but that an internal investigation
    11   had not found them to be credible.
    12         68.    The press release, issued on October 18, 2016—just hours after the
    13   SeekingAlpha blog was published—included the following statements:
    14
               Banc of California, Inc. today announced it is aware of allegations
    15         posted in a financial blog. The Company's Board of Directors has been
    16         aware of matters relating to Jason Galanis including certain claims he
               had made suggesting an affiliation with members of the Company, its
    17         Board, and/or its Executive team. The Board, acting through its
    18         Disinterested Directors, immediately initiated a thorough
               independent investigation led by Winston & Strawn, and has received
    19         regular reports including related to regulatory and governmental
    20         communications over the past year [emphasis supplied].
    21         The complaint filed by the Department of Justice against Mr. Galanis
    22         and others dated May 9, 2016 ... clearly states that Mr. Galanis' claims
               to be affiliated with COR Capital were fraudulent…. Banc of
    23
               California and its Disinterested Directors will make further facts
    24         publicly available as appropriate.
    25         69.    On October 19, 2016, the Company filed a Current Report on Form 8-
    26   K with the SEC, which attached a copy of the October 18, 2016 press release.
    27         70.    Also on October 19, 2016, the Company held an analyst conference
    28   call to discuss its third quarter 2016 financial results.     Defendant Grosvenor

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     1   reaffirmed the statements contained in the Company's press release issued the day
     2   before that the Board's "independent" investigation found no evidence that Galanis
     3   exercised control over Banc or any of its directors.
     4         71.    Specifically, Grosvenor provided the following description of the
     5   Board's role in the prior investigation:
     6
               As discussed in our press release yesterday, management first advised
     7         the Board of Directors in 2015 regarding the facts then known
     8         pertaining to the circumstances associated with Jason Galanis's
               indictment, including certain claims attributed to Galanis that he was
     9         affiliated in some manner with the Company or members of the
    10         Company's Board of Directors or management.
    11         In response, the Board of Directors determined to retain outside
    12         counsel to independently investigate the matters raised and report any
               information that might indicate the possible existence of any potential
    13         impropriety [emphasis supplied]. The results of that investigation,
    14         which has continued over the course of more than a year, failed to
               disclose any ownership interest by Galanis in the Company or the bank,
    15
               and affirmatively confirmed that he exercised no direct or indirect
    16         control over the Company or the bank or any entity owned or affiliated
    17         with Steven Sugarman or any other member of the Board of Directors.

    18         The investigation also failed to disclose any past or present lending
    19         relationship between Galanis and the bank. In fact, the inquiry disclosed
               instances in which attempts by Galanis to establish a business
    20         relationship with the Company, presumably in furtherance of the
    21         fraudulent schemes for which he subsequently pled guilty, were
               unsuccessful.
    22
    23         In that regard, the Company shared information developed in the course
               of its own investigation in cooperation with the government's
    24         prosecution of Galanis and others. That cooperation is evidenced by,
    25         among other matters, Paragraphs 40 and 41 contained in the affidavit
               submitted by the FBI's special agent in charge of the government's
    26         investigation as recited in the letter of Company counsel. As has been
    27         made clear, at least by reputable news organizations, none of the
               Company or the bank or any member of the Board of Directors or
    28

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     1         management has been the subject of the government's prosecution of
               Galanis.
     2
     3         Finally, in response to the allegations contained in the Seeking Alpha
               post and at the direction of the disinterested members of the Board,
     4         Company counsel has made written demand, a copy of which is
     5         included in our filing this morning, for the immediate removal and a
               written retraction of the article [emphasis supplied]. In addition, the
     6         Company has been advised by its counsel that the demonstrably
     7         egregious nature of the defamatory statements constitutes actionable
               libel per se, and the Company intends to vigorously pursue all of its
     8         legal remedies.
     9
               As a result, on the advice of counsel and in order to preserve our rights,
    10
               we are not going to discuss any further specifics about Galanis during
    11         today's call while our formal demands for removal and a retraction of
               the article are pending. We will provide periodic public updates and
    12
               further information as additional developments occur.
    13
    14         72.    At the time each of these statements describing the Board's purported
    15   process and decision-making on how to handle the Galanis issues, defendants
    16   Sznewajs, Benett, Schnel, Karish, Holoman and Brownstein were each members of
    17   the Board.
    18         73.    Given the prominence with which the Company disclosed the Board's
    19   purported investigation and findings, in which included via a press release, an
    20   investor conference call, and a Current Report on Form 8-K, and given that the
    21   disclosures describe the Board's knowledge and actions, these directors knew that
    22   the October 18, 2016 press release falsely conveyed the true extent and nature of
    23   the Board's prior investigation into possible relationships between Galanis and
    24   corporate insiders.
    25         74.    Defendant Grosvenor, as General Counsel for Banc, likewise knew or
    26   recklessly disregarded that the statements about the Board's actions and the
    27   "independence" of Winston & Strawn were false, as that law firm had previously
    28   represented Banc and Sugarman.

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     1         75.    On October 27, 2016, Banc's independent auditor, KPMG, which had
     2   not previously been advised of the Winston & Strawn investigation related to
     3   Galanis, sent defendant Sznewajs a letter "raising concerns about allegations of
     4   'inappropriate relationships with third parties' and 'potential undisclosed related
     5   party relationships.'" The Company formed a Special Committee of directors to
     6   investigate the allegations raised in the SeekingAlpha report.
     7         76.    The Special Committee initially consisted of defendants Schnel,
     8   Karish, Benett, Sznewajs, and Holoman, who left the Special Committee before it
     9   concluded its work. Banc represented to investors that each of these directors was
    10   "independent" for the purpose of the investigation. However, each director was
    11   conflicted from the outset, because, among other things, the Aurelius Blog
    12   contained allegations against them as well.
    13         77.    For example, the Aurelius Blog alleged that (a) defendant Schnel was
    14   a partner of defendant Brownstein, and the two had co-founded a company;
    15   (b) defendant Karish was a director at Digital Turbine with an in-law of Sugarman;
    16   (c) defendant Benett was an investment banker with Keefe, Bruyette & Woods
    17   ("KBW") which had been "paid millions by BANC as underwriter of securities
    18   offerings;" and (d) defendant Sznewajs was previously the CEO of West Coast
    19   Bank, which received a cease and desist order from regulators in 2009 due to
    20   "management whose policies and practices are detrimental to the bank."
    21         78.    On November 10, 2016, Banc filed a Notification of Late Filing/Form
    22   12b-25 on Form NT 10-Q with the SEC that revealed the formation of the "Special
    23   Committee of Independent Directors" on October 27, 2016, to review "certain
    24   purported improper relationships and related party transactions and related
    25   matters." The Form NT 10-Q provided no information about the composition of
    26   the committee or relationships that were being reviewed.
    27         79.    In the Form NT 10-Q, Banc stated that it was unable to file its quarterly
    28   report because of the Special Committee's ongoing investigation:

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     1
               [The Company] is delaying the filing of its Quarterly Report on Form
     2         10-Q for the fiscal quarter ended September 30, 2016 ... at this time to
     3         allow for completion of a review into certain purported improper
               relationships and related party transactions and related matters. The
     4         review includes an investigation by independent legal counsel having
     5         no prior relationship with the Company or its officers and directors
               under the direction of a Special Committee of Independent Directors,
     6         which was established by the Board of Directors on October 27, 2016.
     7
     8         80.    On December 27, 2016, Banc announced that defendant Benett would
     9   not stand for re-election as a director of the Company at the 2017 shareholder
    10   meeting. Defendant Benett indicated that his decision not to stand for re-election
    11   was for personal reasons, based upon his assessment of the demands of his business
    12   activities and employment.
    13         81.    On January 23, 2017, Banc issued a press release disclosing that the
    14   Company's October 18, 2016 press release downplaying the Galanis allegations
    15   contained statements regarding the Board's conduct that were not true. In addition,
    16   Banc disclosed that it had become the subject of an investigation by the SEC, a fact
    17   which had gone undisclosed for almost two weeks.
    18         82.    In relevant part, the January 23, 2017 press release stated:
    19
               On October 18, 2016, an anonymous blog post raised questions about
    20         related party transactions and other issues with respect to the Company.
    21         As previously disclosed, in response to these allegations, the Board
               formed a Special Committee which commenced a process to review the
    22         allegations. Shortly thereafter, on October 27, 2016, the Company's
    23         independent auditor, KPMG, sent a letter to Mr. Sznewajs in his
               capacity as Chair of the Company's Joint Audit Committee (the
    24
               "KPMG Letter") raising concerns about allegations of "inappropriate
    25         relationships with third parties" and "potential undisclosed related party
               relationships."
    26
    27         On October 30, 2016, the Special Committee retained WilmerHale, a
    28         law firm with no prior relationship with the Company, to conduct an
               independent investigation to address certain issues raised by the blog
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     1        post, as well as questions raised by the KPMG Letter. In accordance
              with the KPMG Letter, WilmerHale will make a final report to the
     2        Special Committee and KPMG on the results of its investigation. The
     3        Special Committee expects that this final report will take place within
              weeks.
     4
     5        While certain work remains to be completed, to date WilmerHale's
              inquiry has not found any violation of law. In addition, contrary to the
     6        claims in the blog post, the inquiry has not found evidence that Jason
     7        Galanis has any direct or indirect control or undue influence over the
              Company. Furthermore, the inquiry has not found evidence establishing
     8        that any loan, related party transaction, or any other circumstance has
     9        impaired the independence of any director.
    10
              Through the inquiry, however, the Special Committee has determined
    11        that a press release issued on October 18, 2016 contained inaccurate
              statements. In that press release, the Company stated that the "Board
    12
              of Directors, acting through its Disinterested Directors" had, as
    13        of October 18, 2016, investigated issues raised in the blog post. This
    14        press release was inaccurate in certain respects. The review
              established that although an investigation had been conducted, it was
    15        not initiated by the Board of Directors; rather, it appears to have been
    16        directed by Company management rather than any subset of
              independent directors. In addition, the press release characterized the
    17        investigation as "independent" without disclosing that the law firm
    18        conducting the investigation had previously represented both the
              Company and the Company's CEO individually. Furthermore, the
    19        press release stated that the Board or a group of "Disinterested
    20        Directors" had received "regular reports including related to
              regulatory and governmental communications." This overstated both
    21
              the degree to which the Company had been in contact with regulatory
    22        agencies about the subject matter referenced in the blog post, as well
              as the involvement of the directors in oversight or direction of the
    23
              inquiry.
    24
    25        Related to this matter, on January 12, 2017, the Securities and
              Exchange Commission ("SEC") issued a formal order of investigation
    26        directed at certain of the issues that the Special Committee is reviewing.
    27        Also on January 12, 2017, the SEC issued a subpoena seeking certain
              documents from the Company, primarily relating to the October 18,
    28        2016 press release and associated public statements. The Company
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     1         intends to fully cooperate with the SEC; in addition, the Special
               Committee will share the results of its review with the SEC staff.
     2
     3         83.    In a separate press release issued the same day, Banc announced
     4   Sugarman's resignation from all positions with the Company. He was replaced as
     5   Chairman by defendant Sznewajs, and the Company announced a convoluted
     6   interim executive structure, as follows:
     7
               The Office of the CEO/President will be composed of Hugh Boyle,
     8         Chief Risk Officer, who will additionally assume the title of Interim
     9         Chief Executive Officer, and J. Francisco A. Turner, Chief Strategy
               Officer and Principal Financial Officer. Mr. Turner will partner with
    10         Mr. Boyle and assume the title of Interim Chief Financial Officer and
    11         President.
    12         84.    On this news, Banc's shares fell $1.50, or nearly 10 percent.
    13         85.    On February 9, 2017, the Company issued a press release announcing
    14   that "WilmerHale has made a final report to the Special Committee ... and has
    15   confirmed its earlier conclusion that the inquiry has not found any violation of law."
    16   The investigation concluded that Galanis had no indirect or direct control or undue
    17   influence over the Company and that no loans or related party transactions had
    18   impaired the independence of any director.
    19         86.    The directors on the Special Committee (including, at least, defendants
    20   Schnel, Sznewajs, Benett, Holoman, and Karish) were directly responsible for, and
    21   undoubtedly aware of, the contents of the misleading October 18, 2016 press release
    22   when it was issued. Yet none of the Special Committee members were themselves
    23   held accountable for the false statements, nor was defendant Grosvenor, who
    24   repeated the falsehoods on the October 19, 2016 investor call, and signed the
    25   Current Report on Form 8-K by which the October 18, 2016 press release was filed
    26   with the SEC.
    27         87.    These breaches of disclosure by the members of the Special
    28   Committee and defendant Grosvenor led directly to a subpoena by the SEC.
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     1         D.     The Securities Class Action
     2         88.    On January 23, 2017, a securities fraud class action lawsuit was filed
     3   in this Court on behalf of purchasers of Banc's securities, based on allegations that
     4   Banc, Sugarman, and another executive named James J. McKinney made false and
     5   misleading statements to Banc investors in connection with the Galanis allegations.
     6         89.    In an amended complaint filed on May 31, 2017, the lead plaintiff
     7   alleged that the defendants (a) omitted material information from their public
     8   statements about numerous connections Banc officers and directors had with
     9   Galanis; (b) misled investors about the independence of Banc's "disinterested
    10   directors" in its SEC filings in connection with their approval of related-party
    11   transactions; and (c) failed to disclose that Banc's management was conducting an
    12   ongoing internal investigation into the Company's ties with Galanis. In the amended
    13   complaint, the lead plaintiff specifically alleged that the Company's October 18,
    14   2016 and October 19, 2016 statements were false and misleading.
    15         90.    In an order denying the motion to dismiss dated September 6, 2017,
    16   the Court held that the lead plaintiff adequately alleged a material omission in the
    17   2016 Proxy Statement, and that defendants had acted with scienter.
    18         91.    On May 31, 2018, Judge Guilford certified the class, defined as "All
    19   persons and entities who purchased or otherwise acquired the common stock of
    20   Banc of California, Inc. ("Banc" or the "Company") during the period from April
    21   15, 2016 through January 20, 2017, inclusive (the "Class Period"), and were
    22   damaged thereby. Excluded from the Class are Defendants, present or former
    23   executive officers and directors of Banc and their immediate family members (as
    24   defined in 17 C.F.R. §229.404, Instructions (1)(a)(iii) and (1)(b)(ii))." The order
    25   certifying the class exposed the Company to massive liability.
    26         92.    On October 30, 2019, the lead plaintiff filed a motion for preliminary
    27   approval of a settlement of the securities class action for a payment to the certified
    28   class of $19.75 million.

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     1         E.     The Company Admits Internal Control Deficiencies
     2         93.    Notably, in its Quarterly Report on Form 10-Q filing for the quarter
     3   ended September 30, 2016, filed on March 1, 2017 with the SEC, Banc admitted
     4   that it suffered from material weaknesses in its internal controls in the wake of the
     5   Aurelius Blog scandal. According to the Form 10-Q:
     6         Based on this evaluation, management concluded that the disclosure
     7         controls and procedures were not effective as of September 30, 2016
               due to a material weakness in the design and operating effectiveness of
     8         our internal control over financial reporting as it relates to our control
     9         environment. As defined in SEC Regulation S-X, a material weakness
               is a deficiency, or combination of deficiencies, in internal control over
    10         financial reporting, such that there is a reasonable possibility that a
    11         material misstatement of the Company's annual or interim financial
               statements will not be prevented or detected on a timely basis. We
    12
               determined that an inadequate tone at the top regarding the importance
    13         of internal control over financial reporting gave rise to the material
               weakness. Specifically, the Company's tone at the top did not
    14
               appropriately prioritize the Company's internal control over financial
    15         reporting which has not been sufficient to address new and evolving
    16         sources of potential misstatement largely driven by the increased
               complexity and growth in the size and scale of the business. This
    17         ineffective tone at the top adversely impacted a number of processes
    18         resulting in an ineffective risk assessment process, ineffective
               monitoring activities, and insufficient resources or support which
    19         caused the Company to experience an increase in the number of control
    20         deficiencies across multiple processes. As a result, even though no
               material misstatement was identified in the financial statements, it was
    21         determined that there was a reasonable possibility that a material
    22         misstatement in the Company's financial statements would not have
               been prevented or detected on a timely basis.
    23
    24         94.    In addition, in its Annual Report on Form 10-K filing for 2016, also
    25   filed with the SEC on March 1, 2017, Banc's auditor stated that Banc suffered from
    26   material weaknesses in its internal controls and from a "number of control
    27   deficiencies across multiple processes." According to the auditor, Banc "has not
    28   maintained effective internal control over financial reporting as of December 31,

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     1   2016, based on criteria established in Internal Control-Integrated Framework
     2   (2013) issued by the Committee of Sponsoring Organizations of the Treadway
     3   Commission (COSO)."
     4         95.    Banc's lack of controls permitted defendants to conceal the alleged ties
     5   between Galanis and Banc's officers and directors, including the Board's
     6   undisclosed investigation thereof. Banc's subsequent remedial actions demonstrate
     7   the abject state of its internal controls in 2016.
     8         96.    Each of the defendants who served as an officer or director during
     9   fiscal year 2016 was responsible for the Company's failed internal controls, which
    10   contributed directly to the wrongdoing alleged herein, and which gave rise to the
    11   SEC investigation, and the securities class action.
    12         F.     Banc Manipulates Bonus Accounting
    13         97.    As the Aurelius Blog scandal engulfed Banc, Banc's new management,
    14   with approval of the Joint Audit Committee, sought ways to artificially inflate
    15   Banc's first quarter 2017 financial results to maintain Banc's credibility in the
    16   market. This is alleged in detailed wrongful termination suits filed by two former
    17   Banc executives with alleged particularized knowledge regarding the disputed
    18   accounting, Jeffrey T. Seabold ("Seabold"), former Executive Vice President and
    19   Chief of Staff, and Heather Endresen ("Endresen"), former Managing Director of
    20   SBA Lending, and borne out in Banc's reported earnings.
    21         98.    Seabold alleged that to implement this plan, Banc initiated a so-called
    22   "reassessment" for accruals for 2016 bonuses. This resulted in reversing $7.8
    23   million in such accruals, which were then credited toward liabilities accrued in the
    24   first quarter of 2017, resulting in increased earnings for the first quarter of 2017.
    25   Endresen likewise claimed that as early as January 2017, she was informed that
    26   Banc had decided to scale back the Company bonus pool, and consequently, certain
    27   employee bonuses would be reduced. She expressed her disagreement to then Joint
    28

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     1   Audit Committee Chairman, defendant Lashley, on the justification and validity of
     2   the bonus reversal, which shifted over $7 million in earnings from 2016 to 2017.
     3         99.    The improper bonus accounting alleged by Seabold and Endresen is
     4   evident in Banc's filed financial statements for the relevant periods. For the three
     5   years ended December 31, 2016, Banc's net income had grown by an average of
     6   approximately 95.72% per year. Banc's quarterly net income for the year ended
     7   December 31, 2016 averaged approximately $29 million. By comparison, Banc
     8   reported net income of just $17.2 million for the quarter ended March 31, 2017,
     9   approximately 50% below earnings reported for the fourth quarter of 2016.
    10         100. Based on disclosures in Banc's March 31, 2017 financial statements,
    11   filed with the SEC on May 10, 2017, Banc reversed approximately $7.8 million of
    12   accrued incentive compensation that had been recorded as a liability at December
    13   31, 2016, and had been recognized as an expense in Banc's financial statements for
    14   the year ended December 31, 2016, recording the reversal as a reduction in first
    15   quarter 2017 compensation expense.
    16         101. Banc's first quarter 2017 Quarterly Report on Form 10-Q described the
    17   reversal as follows: "At December 31, 2016 the Company accrued a liability for
    18   estimated discretionary incentive compensation payments to certain employees.
    19   The amount paid was less than the accrued liability. Consequently, the Company
    20   reversed the excess accrual and recorded a credit to salaries and employee benefits
    21   on the consolidated statements of operations of $7.8 million during the three months
    22   ended March 31, 2017. The reversal, based on new information driven by changes
    23   to certain facts and circumstances, was determined to be a change in estimate."
    24         102. The effect of the reversal was to increase Banc's pre-tax earnings for
    25   the quarter ended March 31, 2017 by approximately $7.8 million, representing 48%
    26   of Banc's reported pre-tax earnings for the first quarter. The reversal represented
    27   approximately 5.2% of Banc's reported pre-tax income for the year ended
    28   December 31, 2016. The reversal had a material effect on Banc's December 31,

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     1   2016 and March 31, 2017 financial statements, though the relative effect was far
     2   greater on the first quarter 2017 financial statements.1
     3         103. Banc reported earnings per share on a fully diluted basis of $0.23 for
     4   the first quarter of 2017. Remarkably, approximately $0.15 of this amount was the
     5   direct result of the disputed reversal of the 2016 accrued incentive compensation.
     6   In other words, without the disputed reversal of the 2016 accrued incentive
     7   compensation, Banc would have reported just $0.08 in diluted earnings per share
     8   for the quarter ended March 31, 2017, compared with earnings per share of $0.52
     9   reported for the prior quarter ended December 31, 2016.
    10         104. The price of Banc's shares had declined significantly beginning in the
    11   fourth quarter of 2016 and continuing into 2017. From August 2016 through
    12   October 2016 the share price fell from $22 per share to $13 per share.
    13         105. Significant drops in earnings and share prices provide a strong
    14   incentive for management to take drastic actions to improve earnings and share
    15   prices, including intentional misapplications of U.S. generally accepted accounting
    16   principles ("GAAP").
    17         106. Expenses must be recognized in the periods in which they are incurred,
    18   when the benefits associated with cost have been exhausted. Liabilities represent
    19   likely future payments resulting from past transactions or events. Thus, bonuses to
    20   be paid for services rendered by employees to Banc during the year ended
    21   December 31, 2016, were required to be recognized in the 2016 financial
    22   statements.
    23         107. The Notes to Banc's financial statements for the year ended December
    24   31, 2016, acknowledge that its financial statement amounts were based on estimates
    25
         1
    26     Materiality is generally defined based on whether an amount is expected to
         influence the decisions of users of the financial statements. As a rule of thumb, the
    27
         quantitative benchmark for publicly held entities generally ranges from 5% to 10%
    28   of reported net income.

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     1   and assumptions based on available information.2 Accounting estimates are an
     2   approximation of an amount included in the historical financial statements as of a
     3   certain date. Accounting estimates measure the effects of past transactions or
     4   events. In the case of bonus accrual, the past transaction was the service rendered
     5   by employees prior to the December 31, 2016 balance sheet date. Estimates must
     6   be measured based on the most likely outcome.
     7           108. Having prepared its financial statements for the year ended December
     8   31, 2016, Banc was required to consider whether subsequent events, including a
     9   likely reduction in 2016 bonus amounts, provided additional evidence about
    10   conditions existing at the date of the balance sheet, including the estimates inherent
    11   in its preparation of the financial statements. For SEC filers, subsequent events
    12   must be evaluated through the date that the financial statements are issued.
    13           109. Because it is a public company, for purposes of evaluating the
    14   reasonableness of the estimated accrued incentive compensation recorded in Banc's
    15   records as of December 31, 2016, management was required to evaluate and
    16   consider all information that was available through March 1, 2017, the date that
    17   Banc's 2016 financial statements were filed with the SEC.
    18           110. If, based on the information available to Banc management on March
    19   1, 2017, management believed it was reasonably possible that some or all of the
    20   incentive compensation bonuses initially accrued at December 31, 2016 would not
    21   be paid, the amounts accrued as of December 31, 2016 should have been adjusted
    22   to the amounts reasonably expected to be paid with a corresponding adjustment to
    23   the December 31, 2016 financial statements prior to filing the financial statements
    24   with the SEC, rather than recognizing the change in the financial statements for the
    25   quarter ended March 31, 2017.
    26           111. During the two month period following December 31, 2016, Banc's
    27   Board would have been fully aware of the expected significant decline in first
    28
         2
             See Banc of California, Inc., Annual Report (Form 10-K), at 107 (Mar. 1, 2017).
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     1   quarter earnings and earnings per share relative to the reported earnings for the
     2   quarter ended December 31, 2016, and the continuing decline in the price of Banc's
     3   shares. During this same period, Banc was also struggling with the allegations of
     4   wrongdoing related to the Aurelius Blog post in October 2016, and the
     5   announcement of the SEC investigation in January 2017.
     6         112. These conditions created a strong incentive to take actions to bolster
     7   first quarter 2017 earnings. On or prior to March 1, 2017, two full months after
     8   year-end, the Board knew of the likely reduction of any accrued but unpaid 2016
     9   incentive compensation and was required by GAAP to adjust the amount accrued
    10   in the December 31, 2016 financial statements to the amount reasonably expected
    11   to be paid, based on information available at March 1, 2017.
    12         113. Banc's actions in reversing the accrued 2016 incentive compensation
    13   and recognizing the reversal as an increase in first quarter of 2017 earnings (rather
    14   than an increase in year-end 2016 earnings) represented an intentional misstatement
    15   of Banc's financial statements for the year ended December 31, 2016 and quarter
    16   ended March 31, 2017.
    17         114. Even Banc's 2017 Derivative Proxy Statement on Schedule 14-A, filed
    18   on April 28, 2017, admits that certain bonus reductions were made for 2016 "in
    19   light of the extraordinary challenges faced by the Company in late 2016 and early
    20   2017"—events which occurred well before March 1, 2017 when the 2016 Form 10-
    21   K was filed, in which the effect of these reversals should have been disclosed.
    22         115. Banc's reduction of incentive based compensation for 2016 is further
    23   highly dubious in light of the Company's reported performance in 2016, which it
    24   described in a January 30, 2017 press release as a "record" year in which Banc
    25   "exceeded each of our stated financial targets."
    26         116. Based on the information available to management and the Board,
    27   Banc's fiscal year 2016 financial statements included in its Annual Report on Form
    28   10-K, which should have been adjusted to reduce the accrued incentive

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     1   compensation as of December 31, 2016 resulting in an increase in earnings for the
     2   fourth quarter of 2016, rather than shifting the income to the first quarter of 2017.
     3         117. The 2016 Form 10-K was filed on March 1, 2017, and was signed by
     4   defendants Lashley, Benett, Karish, Schnel and Sznewajs. Banc's first quarter 2017
     5   Quarterly Report on Form 10-Q disclosing these false and misleading financial
     6   statements was filed on May 10, 2017, and was signed by defendant Bowers.
     7         118. At the time of the Form 10-K filing, the Joint Audit Committee
     8   consisted of defendants Lashley, Benett, Karish and Sznewajs. At the time of the
     9   Quarterly Report on Form 10-Q filing, defendant Bowers was serving as CEO and
    10   a director.
    11         119. Given the materiality and impact of the wrongful accrual accounting
    12   on reported results for fiscal year 2016 and the first quarter of fiscal year 2017, each
    13   of these defendants and defendant Schnel knew or recklessly disregarded the false
    14   and misleading nature thereof.
    15          G.     Executives Allege Further Rampant Wrongdoing
    16         120. In addition to the manipulation of bonus accounting, Seabold alleges
    17   that Banc's new leadership brought in after Sugarman's departure eliminated
    18   transparency in financial reporting and budgeting processes, turning off Sarbanes-
    19   Oxley Act ("SOX") compliance reports to management. Seabold alleged that
    20   Special Committee members defendants Sznewajs, Benett, Karish, and Schnel
    21   engaged in a "power grab" seeking a scapegoat in Sugarman and defendant
    22   Brownstein for their own conflicts and transactions. Seabold asserts that these
    23   Board members sought to push out Company whistleblowers, officers, and directors
    24   that sought to ensure compliance with disclosure and financial reporting
    25   requirements.
    26         121. Seabold also asserts that defendant Karish had connections to
    27   defendant Brownstein while he was employed at Heritage Group, an investor in a
    28   business owned by defendant Brownstein. Seabold further alleges that defendant

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     1   Karish served on a board of directors of a company alleged of fraudulent business
     2   practices, a fact not disclosed to Banc's Board.        Whistleblowers disclosing
     3   defendant Karish's connections to prior breaches of fiduciary duties were pushed
     4   out of Banc.
     5         122. Seabold likewise claims that defendant Sznewajs suffers from
     6   conflicts of interest. Despite serving as the Chairman of the Joint Audit Committee,
     7   Seabold states that defendant Sznewajs did not disclose to the Company that his
     8   committee approved the hiring of his son's firm to underwrite a Company offering.
     9         123. Endresen alleges that she encountered similar resistance to ensure
    10   effectiveness of Banc's internal controls. For example, Endresen claims she met
    11   with interim CEO Hugh F. Boyle ("Boyle"), Director of Human Resources Michael
    12   Urtel, Chief Internal Audit Officer Michael Gelormino ("Gelormino"), and
    13   defendant Lashley about the Company's SOX violations.
    14         124. In response, Endresen claims she was deprived of her bonus and
    15   subject to a culture of fear and retaliation that forced her from her position.
    16   Additionally, Endresen alleges that Banc inserted Francisco A. Turner ("Turner")
    17   as Interim President and Chief Financial Officer, who consistently violated SOX
    18   and the Company's Code of Business Conduct and Ethics.
    19         125. Among the shocking allegations, Endresen claims that Turner was not
    20   only involved in the accounting manipulation described above, but misused
    21   Company funds to pay for employees, clients, and analysts to go to strip clubs.
    22   Turner's toxic "tone at the top" included use of drugs and sexual activity at work,
    23   according to Endresen.
    24         126. Both Seabold and Endresen also allege that those responsible for the
    25   illegal activity, including Boyle and Turner, were rewarded with promotions instead
    26   of disciplined. Some of these individuals still hold top positions with the Company,
    27   including defendant Sznewajs as Banc's Chairman of the Board. Seabold's claim
    28   was later settled for $4.3 million.

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     1                             DAMAGES TO THE COMPANY
     2         127. Banc has suffered, and continues to suffer, from the Individual
     3   Defendants' wrongdoing described herein.
     4         128. Banc hid the Galanis allegations from shareholders for approximately
     5   a year. When confronted with the Aurelius Blog, Banc then disseminated the
     6   October 18, 2016 press release and made statements falsely describing the
     7   Company's purported investigative process. These false statements, made by the
     8   Board, or made in its name, and which the directors failed to timely retract or
     9   correct, contributed directly to a subpoena from, and an investigation by, the SEC,
    10   a highly damaging event for a public company.
    11         129. The Individual Defendants' improper statements, failure to maintain
    12   adequate internal controls, and the Board's flawed response to the allegations of
    13   impropriety regarding Galanis have severely impacted Banc's credibility.
    14   Furthermore, as a direct and proximate result of the Individual Defendants' actions,
    15   Banc has expended, and will continue to expend, significant sums.
    16         130. Such expenditures include costs incurred from responding to the
    17   ongoing SEC investigation, and defending and settling other related claims,
    18   including the securities class action. Indeed, the Company's most recent Annual
    19   Report on Form 10-K filing, filed with the SEC on March 1, 2019, Banc states as
    20   follows:
    21         On January 12, 2017, the Company received a formal order of
    22         investigation issued by the SEC and a subpoena seeking documents
               primarily related to certain of the issues that the Special Committee
    23         reviewed. The Company has been fully cooperating with the SEC in
    24         this investigation.
    25         The SEC investigation could lead to the institution of civil or
               administrative proceedings against the Company as well as against
    26
               individuals currently or previously associated with the Company. Any
    27         such proceedings or threatened proceedings might result in the
    28         imposition of monetary fines or other sanctions against the named
               parties. Resulting sanctions could include remedial measures that might
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     1         prove costly or disruptive to our business. Additionally, as discussed
               under Item 3 in Part I of this Annual Report on Form 10-K, a
     2         consolidated class action lawsuit was filed against the Company on
     3         January 23, 2017, and other lawsuits have been filed against the
               Company by former officers and others. In addition to the risk of fines,
     4         sanctions, or monetary judgments, the SEC investigation and lawsuits
     5         may cause the Company to incur significant attorneys' fees, both with
               regards to counsel representing the Company and with regards to
     6         indemnity obligations incurred by the Company.
     7
               The pendency of the SEC investigation and any resulting litigation or
     8         sanctions, as well as the pending lawsuits (or any other lawsuits) could
     9         harm our reputation, leading to a loss of existing and potential
               customers, and our ability to attract and retain deposits and greater
    10
               difficulty in securing financing or other developments which could
    11         adversely affect our liquidity, financial condition and future operating
    12         results.
    13
    14         131. Notwithstanding these admitted, material adverse impacts and
    15   continuing risks to the Company, the Board has done nothing to seek recovery from
    16   the individual wrongdoers.
    17         132. Plaintiffs seek to remedy the foregoing harm through the recovery of
    18   monetary damages and implementation of corporate governance reforms.
    19               DERIVATIVE AND DEMAND REFUSAL ALLEGATIONS
    20         133. Banc is named as a nominal defendant solely in a derivative capacity.
    21   This is not a collusive action to confer jurisdiction on this Court that it would not
    22   otherwise have.
    23         134. Plaintiffs will adequately and fairly represent the interests of Banc in
    24   enforcing and prosecuting its rights and has hired experienced counsel. Plaintiffs
    25   were shareholders of Banc at the time of the wrongdoing, have continuously been
    26   shareholders since that time, and are currently shareholders.
    27         135. As alleged below, Plaintiffs each made Demands on the Board to
    28   investigate and pursue claims on the Company's behalf.

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     1          136. The Board had an affirmative duty under Maryland law to conduct a
     2   reasonable, objective, and good faith investigation into the allegations in response
     3   to Plaintiffs' Demands, and to determine on the basis of that investigation whether
     4   the Demands' factual allegations and legal claims have merit and whether pursuing
     5   the claims in litigation would be in the Company's best interests. The Board failed
     6   in this duty.
     7          A.       Plaintiff Gordon's Demand
     8          137. On July 3, 2018, plaintiff Gordon demanded, among other things, that
     9   Banc's Board immediately commence an investigation into allegations of
    10   misconduct by certain current and former officers and directors of Banc ("Gordon
    11   Demand"). Exhibit A.
    12          138. Among other things, the Gordon Demand insisted that this
    13   investigation be conducted by independent Board members who are not implicated
    14   in the allegations of wrongdoing identified in the Gordon Demand, or named as a
    15   defendant in any related litigation arising from, or related in any way to, the
    16   Aurelius Blog, its contents, or Banc's response thereto.
    17          139. The Gordon Demand specifically requested that the Board determine:
    18   the extent of the Galanis relationships and whether any such relationship was
    19   adequately disclosed; whether any Board member was responsible for the content
    20   of the October 18, 2016 press release that the Special Committee later found to
    21   include inaccurate statements; what harm Banc has suffered, either monetarily or to
    22   its reputation, from the issuance of the October 18, 2016 press release and follow
    23   up investigation; what improvements in Banc’s internal controls would have
    24   reduced the chance of false and misleading statements being issued, including but
    25   not limited to statements contained in Banc’s 2016 Proxy Statement and the
    26   October 18, 2016 press release; whether members of the Joint Audit Committee
    27   submitted full and accurate information to Banc’s auditor when justifying the
    28   reassessment of accruals for certain executives in the first quarter of 2017; and

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     1   whether there was any improper motive in reassessing the bonuses for certain
     2   executives in the first quarter of 2017.
     3         140. The Gordon Demand also obligated the Board to identify who would
     4   conduct the investigation, whether outside counsel was retained (and the identity of
     5   any such counsel), and the scope of their investigative authority. The Gordon
     6   Demand further demanded improvements to Banc's corporate governance.
     7         141. The Gordon Demand was refused by the Rejection letter dated January
     8   4, 2019. Exhibit B. According to the Rejection Letter, an "Ad Hoc" Committee
     9   had been formed to review the Gordon Demand, consisting of three (3) directors
    10   who joined the Board post-Aurelius Blog revelations. However, the Rejection
    11   Letter was not written by any such committee member, nor by the committee's
    12   counsel. Instead, the Rejection Letter was written by an interested director—
    13   defendant Sznewajs.
    14         142. The Rejection Letter made clear that the "Ad Hoc" Committee was not
    15   vested with authority to independently advance or dispose of any claims. Instead,
    16   it was formed only to make a recommendation to the Board for a vote, even though
    17   a majority of the Board members (5 of 9) were directly implicated in the allegations
    18   plaintiff Gordon demanded that the Board investigate.
    19         143. In particular, defendants Sznewajs, Benett, and Schnel are themselves
    20   personally mentioned in the Aurelius Blog.
    21         144. In addition, they served on the Board during 2016, when: (a) the
    22   allegedly false and misleading Proxy Statement at issue in the securities class action
    23   was filed with the SEC; (b) the Board (which included each of them) was
    24   withholding from shareholders, Banc's auditors and the SEC that the Board had
    25   been aware of and investigating the Galanis allegations since 2015; (c) the Board
    26   (which included each of them) issued the misleading October 18, 2016 press
    27   release, which was admittedly untrue and led to a subpoena from the SEC; and
    28   (d) the Company maintained failing internal controls, which were directly within

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     1   the purview of the Board's oversight responsibility. Defendants Sznewajs, Benett
     2   and Schnel also personally signed the 2016 Form 10-K with the disputed, allegedly
     3   manipulated financial results regarding improper bonus accounting.
     4         145. Defendant Lashley was personally involved in the alleged improper
     5   bonus accounting, and, along with defendant Bowers, signed the disputed SEC
     6   filings. Furthermore, defendant Bowers was not independent because he was the
     7   full-time CEO of Banc, and reliant on other directors for his position and
     8   compensation.
     9         146. Thus, a Board majority (5 of 9) was not entirely disinterested. Instead,
    10   a majority of the Board was personally involved in the disputed conduct, and should
    11   have been isolated from the demand review process, but instead they controlled the
    12   outcome. This confirms that the self-interest of the decision-makers was prioritized
    13   over the substance of the Gordon Demand response. This alone demonstrates that
    14   the Board did not act independently, and that its investigation was not reasonable
    15   nor in good faith.
    16         147. According to the Rejection Letter, the "Ad Hoc" Committee of the
    17   Board hired Bergeson, LLP ("Bergeson") to investigate the Gordon Demand.
    18   However, the "Ad Hoc" Committee and Bergeson gave way to defendant Sznewajs,
    19   who personally prepared the Rejection Letter on Company letterhead. Plainly,
    20   neither the "Ad Hoc" Committee nor its counsel were authorized to exercise the
    21   Board's authority, or even speak for the Board on the issues with which they were
    22   tasked.
    23         148. According to the Rejection Letter, the "Ad Hoc" Committee allegedly
    24   met seven times to direct, review, and consider the investigative work conducted
    25   by its counsel, and worked with counsel to prepare a report of its findings and
    26   recommendations. Ostensibly in reliance upon "a detailed 54-page report, plus 53
    27   exhibits" presented to the Board on November 20, 2018, the Rejection Letter stated
    28   that "the Board has determined that it would not be in the best interest of the

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     1   Company to pursue the claims alleged in the Gordon Demand Letter or implement
     2   any additional remedial measures at this time."
     3         149. According to the Rejection Letter, the "Ad Hoc" Committee provided
     4   its purported report and exhibits to the Board on November 20, 2018, yet only eight
     5   days later (a span of time that included a four day long holiday weekend), the Board
     6   "adopted" the report of the "Ad Hoc" Committee. No Board could have in good
     7   faith analyzed the contents of the purported 54-page report and 53 exhibits and
     8   made an informed vote in such a short period.
     9         150. In another letter dated January 24, 2019 (Exhibit C), plaintiff Gordon
    10   wrote the Board for a second time, reasonably and in good faith requesting that the
    11   Board provide plaintiff Gordon with backup documentation regarding its processes
    12   and conclusions, including the report and exhibits, as follows:
    13         [P]lease provide us the Ad Hoc Committee's report of its findings and
    14         recommendations to the Board together with all exhibits, interview
               notes, and all analyses regarding the independence of committee
    15
               members. Also, please provide us the minutes and presentations from
    16         all Ad Hoc Committee meetings. In addition, please provide us the
               retainer agreement with Bergeson, LLP. Lastly, please also provide us
    17
               the underlying releases and any other documents evidencing the
    18         company's agreements with any executives referenced in your letter,
    19         including the separation agreement with Steve Sugarman, as well as all
               documents upon which the Board relied to determine whether such
    20         agreements are enforceable.
    21         Given all of these documents already have been gathered and are in
    22         your possession, we ask that you provide us all of these documents not
               later than close of business on Friday, February 1, 2019.
    23
    24         151. By letter dated February 1, 2019, again written by defendant Sznewajs,
    25   Banc refused in a one-liner letter to provide plaintiff Gordon any of the documents
    26   sought in his January 24, 2019 letter. Exhibit D.
    27         152. Defendant Sznewajs's letter stating that information underlying the
    28   investigation would be hidden from plaintiff Gordon further confirms that the Board

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     1   did not engage in a reasonable, good faith investigation of the Demand. Defendant
     2   Sznewajs provided no basis for refusing to provide any of the documents requested,
     3   and there is no reason for Banc to withhold the evidence now.
     4         153. Defendant Sznewajs's Rejection Letter and refusal to share
     5   information only serve to expose the fatally flawed process used by the Board in
     6   responding to the Gordon Demand. These developments confirm that from the
     7   outset, the "Ad Hoc" Committee's hands were tied by a Board majority, and the
     8   outcome of the "Ad Hoc" Committee's investigation (including absolving all
     9   defendants of wrongdoing) was preordained.
    10          B.    Plaintiff Johnston's Demand
    11         154. On May 22, 2018, plaintiff Johnston's counsel sent a Demand to the
    12   Board, detailing the wrongdoing described herein, and demanding that the Board
    13   investigate and bring claims arising from the wrongdoing against those fiduciaries
    14   responsible for damaging the Company, including certain of the Company's current
    15   and former officers and directors (the "Johnston Demand"). Exhibit E. The
    16   Johnston Demand also demanded that Banc institute certain corporate governance
    17   reforms.
    18         155. Plaintiff Johnston received a response from counsel for the Company,
    19   Mark R. McDonald ("McDonald") of Morrison & Foerster LLP ("Morrison &
    20   Foerster"), the same counsel that represented a number of the defendants in the
    21   pending securities class action.     Exhibit F. McDonald stated that Banc was
    22   evaluating the Johnston Demand and requested documentation demonstrating
    23   plaintiff Johnston's proof of ownership of Banc of stock during the relevant period,
    24   which Johnston promptly provided. Exhibit G.
    25         156. On July 5, 2018, counsel for the Company wrote to plaintiff Johnston
    26   advising that it recently received another litigation demand letter and that this letter
    27   would be considered at the same time as the Johnston Demand and a previously
    28   unreferenced litigation demand, "[b]ecause of the overlap between the allegations

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     1   raised in the three demand letters." Exhibit H. Plaintiff Johnston e-mailed counsel
     2   in response that same day asking for a copy of the other two litigation demand
     3   letters. McDonald never responded.
     4         157. On August 27, 2018, plaintiff Johnston's counsel received a letter from
     5   the Company's in-house counsel, Angelee J. Harris ("Harris"), stating that "Banc of
     6   California, Inc. … is considering [the Johnston Demand]." Notably, Harris stated
     7   that the Company, not the Board, was considering the Johnston Demand. Exhibit
     8   I.
     9         158. Plaintiff Johnston responded to Harris on September 5, 2018, through
    10   his counsel. He noted that he was previously contacted by the Company's outside
    11   counsel and asked whether to direct future conversation to the outside counsel or
    12   Harris. Plaintiff Johnston also asked whether the Board had retained its own
    13   independent counsel. Finally, Johnston noted that he never received a response to
    14   his request on July 5, 2018, for copies of the other outstanding litigation demand
    15   letters. Harris never responded to plaintiff Johnston's September 5, 2018 letter.
    16   Exhibit J.
    17         159. On October 9, 2018, plaintiff Johnston's counsel received an e-mail
    18   from yet another counsel, John D. Pernick ("Pernick") of the law firm Bergeson.
    19   Pernick stated that Banc was considering Johnston's Demand and that Pernick was
    20   retained to assist in this consideration. Notably, yet again, counsel presented it as
    21   the Company, not the Board or a committee of the Board, as considering the
    22   Johnston Demand. Exhibit K.
    23         160. Plaintiff Johnston responded that same day, highlighting that: (a) he
    24   had not received a response to his previous requests to review copies of the other
    25   litigation demand letters; (b) the Johnston Demand was sent to the Board, not the
    26   Company, and it was members of the Board that needed to consider the Johnston
    27   Demand; and (c) nearly five months had passed since the Johnston Demand had
    28   been made. Id.

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     1         161. Pernick responded by e-mail that same day. In contrast to his earlier
     2   statement about assisting the Company in its consideration of the Johnston Demand,
     3   Pernick claimed that he was engaged by "the Special Committee of the Board of
     4   Directors of the Banc." This was the first time any of the various lawyers that
     5   corresponded with plaintiff Johnston mentioned a "Special Committee" of the
     6   Board. Pernick also asked why plaintiff Johnston was interested in reviewing the
     7   other litigation demand letters and whether his counsel was available for a call. Id.
     8         162. Plaintiff Johnston explained in response that he was consistently told
     9   that the other demands were related to his, without any description of whether the
    10   demands focused on the same issues and facts. He also requested that counsel
    11   inform him of the identities of the members of the "Special Committee." Counsel's
    12   response to Johnston's requests was merely that he would "get back to [Johnston]
    13   with respect to your other requests." Id.
    14         163. Plaintiff Johnston responded with his significant concerns about the
    15   claimed investigation of the Johnston Demand. In particular, after five months of
    16   counsel ignoring Plaintiff Johnston's letters and e-mails, he was suddenly told it was
    17   imperative that counsel speak with him immediately. In addition, counsel refused
    18   to provide even basic information about the newly constructed "Special
    19   Committee," including even the names of the members of the purported committee.
    20   Plaintiff Johnston also explained that he currently had no idea of the scope of the
    21   "Special Committee's" duties. Id.
    22         164. Accordingly, plaintiff Johnston requested that counsel provide the
    23   Board minutes and resolutions creating the "Special Committee," appointing the
    24   members of the "Special Committee," and delineating the scope of the investigation
    25   of the "Special Committee." In light of the above-described stonewalling and the
    26   supposed "investigations" that had previously occurred, allegedly, at least initially,
    27   overseen by the Board, this information was needed to show whether the Board was
    28   engaging in a good faith review of the Johnston Demand. Plaintiff Johnston

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     1   explained that he would wait until review of the information before scheduling the
     2   call.
     3           165. Pernick wrote back ignoring plaintiff Johnston's requests. Plaintiff
     4   Johnston responded again explaining how he has consistently provided whatever
     5   information the Company requested while the Company's various counsel ignored
     6   his overtures, a pattern continued by Pernick. Plaintiff Johnston's response stated:
     7   "In light of this refusal to act cooperatively, we fail to [see] how your request to talk
     8   could be a good faith attempt to find information about an investigation that we
     9   cannot even tell the special committee is appropriately empowered to investigate."
    10   Id.
    11           166. Plaintiff Johnston did not receive a response to his e-mail. He never
    12   received copies of the other litigation demand letters that the "Special Committee"
    13   considered at the same time as the Johnston Demand. He also never received copies
    14   of the minutes of the Board or other authorization of the Special Committee. In
    15   fact, plaintiff Johnston heard nothing about the Johnston Demand until January 4,
    16   2019.
    17           167. On that day, plaintiff Johnston received a letter from defendant
    18   Sznewajs, writing as Chairman of the Board, on Company letterhead, rejecting the
    19   Johnston Demand. Exhibit L. In contrast to the previous claims, explicit and
    20   implied, that there was a duly formed "Special Committee" investigating the
    21   Johnston Demand, defendant Sznewajs stated that the Board formed an "Ad Hoc"
    22   Committee, consisting of Kirk Wycoff, Mary Curran, and Bonnie Hill.                 The
    23   Rejection Letter did not provide any details on the formulation of this "Ad Hoc"
    24   Committee, such as why these particular members of the Board were selected to
    25   serve on it, what steps were taken to ensure that there were no improper conflicts,
    26   and what powers the Board imbued this "Ad Hoc" Committee.
    27           168. The Rejection Letter did state that the "Ad Hoc" Committee's
    28   investigation took ten weeks. The "Ad Hoc" Committee presented its findings to

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     1   the Board on November 20, 2018. Assuming the investigation ended somewhat
     2   contemporaneous with this presentation, this means that the Board sat on the
     3   Johnston Demand for nearly four months before investigating it. Id.
     4         169. The Rejection Letter stated that the "Ad Hoc" Committee hired
     5   Bergeson to assist in its investigation. Bergeson, however, previously identified
     6   itself as assisting the Company in an investigation in the Johnston Demand. It is
     7   the same law firm that refused to provide any information about the "Special
     8   Committee," that was really an "Ad Hoc" Committee. Id.
     9         170. The Rejection Letter stated that the "Ad Hoc" Committee presented its
    10   findings and recommendation to the full Board in a written report and that the Board
    11   adopted the report and recommendation of the "Ad Hoc" Committee. Id.
    12         171. The Rejection Letter was notable in its lack of detail. As further
    13   alleged herein, concerning the investigation, the Rejection Letter fails to detail
    14   which witnesses were interviewed with any specificity, nor what documents the
    15   "Ad Hoc" Committee reviewed. It also failed to describe what role management
    16   and its counsel played in the review of the Johnston Demand, a particularly salient
    17   question in light of plaintiff Johnston having to deal repeatedly with counsel that
    18   claimed to represent or assist "Banc," not the Board, in the investigation.
    19         172. The Rejection Letter provided no information concerning key facts
    20   underlying the merits of its decision, such as who was responsible for the October
    21   18, 2016 press release that falsely claimed that the Board oversaw the initial flawed
    22   investigation of the Galanis relationships.
    23         173. On February 25, 2019, plaintiff Johnston sent a letter to the Company
    24   demanding to inspect certain books and records related to the Rejection Letter.
    25   Exhibit M. In particular, Plaintiff Johnston demanded to inspect:
    26                "All meeting minutes of the Board or committee of the Board
    27                 tasked with reviewing our client's litigation demand (the
    28

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     1                 "Review Committee") where our client's litigation demand was
     2                 discussed or evaluated."
     3                "All meeting minutes of the Board or Review Committee
     4                 concerning the potential appointment of a special committee
     5                 tasked with investigating the allegations raised in our client's
     6                 litigation demand."
     7                "Any written report or presentation to the Board or Review
     8                 Committee concerning our client's litigation demand."
     9                "All documents reviewed or relied upon by the Board or Review
    10                 Committee concerning our client's litigation demand."
    11                "The engagement letters of any experts retained by the Board or
    12                 Review Committee concerning our client's litigation demand."
    13                "All documents concerning the steps the Board and Company
    14                 have taken in response to the broader concerns raised by our
    15                 client's litigation demand."
    16         174. The Company refused to provide the documents demanded, stating
    17   that it had no legal obligation to do so, on March 20, 2019. Exhibit N.
    18         175. On April 11, 2019, plaintiff Johnston responded to Banc's rejection of
    19   his inspection demand. In his letter, plaintiff Johnston explained that by the
    20   Company refusing to provide the demanded books and records, it amounted to an
    21   improper attempt to prevent scrutiny of the decision to reject the Johnston Demand,
    22   citing City of Orlando Police Pension Fund v. Page, 970 F. Supp. 2d 1022, 1030
    23   (N.D. Cal. 2013). Plaintiff Johnston requested that the Company reconsider its
    24   position. Exhibit O.
    25         176. Ignoring plaintiff Johnston's directly on point citation, on May 8, 2019,
    26   the Company reiterated its rejection. Exhibit P.
    27
    28

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     1         C.     Plaintiff Witmer's Demand
     2         177. In light of the events described herein, on November 15, 2017, plaintiff
     3   Witmer sent a Demand to defendant Sznewajs, Banc's Chairman of the Board,
     4   demanding that Banc's Board investigate and take legal action against those
     5   responsible for the damages the Company has suffered and is certain to suffer
     6   because of the factual allegations at issue herein (the "Witmer Demand"). Exhibit
     7   Q.
     8         178. On December 4, 2017, plaintiff Witmer received a letter from
     9   McDonald at Morrison & Foerster on behalf of the Board, stating, "[w]e are
    10   evaluating your request and will respond in due course. We expect that you will
    11   not initiate any litigation purportedly on behalf of the Company without further
    12   communication with us." Exhibit R.
    13         179. The "further communication" arrived by way of a letter dated January
    14   8, 2018. Therein, McDonald at Morrison & Foerster informed plaintiff Witmer as
    15   follows: "As I'm sure you know, a purported shareholder derivative action was
    16   previously filed and is pending, and the Company has filed a motion to dismiss that
    17   action on the grounds among others that the shareholder failed to make a demand
    18   on the Company nor established that demand would have been futile.                The
    19   Company has determined that it would be inappropriate for the Company to assert
    20   claims directly while that purported shareholder derivative action is pending."
    21   Exhibit S.
    22         180. On June 25, 2018, McDonald again wrote to plaintiff Witmer's
    23   counsel, now asserting that in light of the dismissal of the demand futility litigation
    24   referenced in his January 8, 2018 letter, the Board would move forward with an
    25   investigation regarding the matters asserted in the Witmer Demand. Exhibit T.
    26         181. The next communication plaintiff Witmer's counsel received was a
    27   letter from defendant Sznewajs, Chairman of Banc's Board, dated January 4,
    28   2019—the same essential Rejection Letter received by the other plaintiffs. Therein,

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     1   defendant Sznewajs stated that "[a]fter due consideration, the Board has determined
     2   that it is not in the best interest of the Company to pursue the claims alleged in the
     3   Demand Letter." The Rejection Letter stated that the Board formed the "Ad Hoc"
     4   Committee that, among other things, retained the law firm of Bergeson as its
     5   counsel to assist in its investigation of the allegations listed in the Witmer Demand,
     6   interviewed "multiple witnesses," and prepared a report. Exhibit U.
     7          182. On February 8, 2019, plaintiff Witmer's counsel wrote back to
     8   defendant Sznewajs seeking additional details and documents surrounding the "Ad
     9   Hoc" Committee's investigation into the Witmer Demand. Exhibit V.
    10          183. Specifically, plaintiff Witmer's counsel requested that Banc: (a)
    11   specify the date that Bergeson was retained to assist in the "Ad Hoc" Committee's
    12   investigation; (b) provide the Board's resolutions creating and authorizing the "Ad
    13   Hoc" Committee to perform its investigation; (c) provide a list of past engagements
    14   between Bergeson any entity affiliated with a current or former director of Banc;
    15   (d) identify the witnesses interviewed by the "Ad Hoc" Committee or any
    16   individuals who declined to be interviewed; and (5) provide a copy of the
    17   underlying report. Id.
    18          184. On February 22, 2019, plaintiff Witmer's counsel received a one
    19   sentence response from defendant Sznewajs: "[t]he Company declines to provide
    20   you the materials or information you have requested." Exhibit W.
    21          D.    The Rejection Letter Reveals Fatally Flawed Process
    22          185. Each of plaintiffs Gordon, Johnston, and Witmer received the same or
    23   nearly identical Rejection Letter. Based on the contents thereof, it is clear that the
    24   "Ad Hoc" Committee of the Board limited the scope of the investigation to protect
    25   defendants and did not undertake an investigation that complies with applicable
    26   law.
    27          186. First, the Board failed to establish that the "Ad Hoc" Committee
    28   retained competent, independent counsel to conduct the investigation. Plaintiffs

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     1   requested the retainer agreement with Bergeson so as to ascertain its independence,
     2   the scope of its representation, and who was paying its bills. The Board refused to
     3   provide this information. Furthermore, Bergeson never extended an invitation to
     4   Plaintiffs' counsel to personally meet with the "Ad Hoc" Committee. This is not
     5   indicative of a reasonable, good faith investigation.
     6         187. Second, while the Board claims that the "Ad Hoc" Committee
     7   produced a 54-page report with 53 exhibits upon which the Board relied, all
     8   Plaintiffs received is a conclusory letter authored by one of the primary targets of
     9   the investigation—defendant Sznewajs. The "Ad Hoc" Committee's procedures,
    10   reasoning and conclusions, upon which the Board purportedly relied in voting down
    11   any claims, remain a mystery, except to the extent defendant Sznewajs (an
    12   interested party) summarized them in the Rejection Letter.
    13         188. Third, the Rejection Letter fails to respond to many of the specific
    14   issues identified in Plaintiffs' Demands, and instead repeats, over and again, the
    15   mantra that the "Ad Hoc" Committee found "no evidence" of wrongdoing.
    16         189. The Rejection Letter:
    17                a.    Fails to elaborate on the Galanis relationships with others
    18   among the Board and management;
    19                b.    Fails to elaborate on its conclusion that no disclosure regarding
    20   the Galanis relationships needed to be made;
    21                c.    Fails to describe facts regarding the directors' individual roles in
    22   the misleading October 18, 2016 press release;
    23                d.    Fails to address the directors' conduct in permitting Grosvenor's
    24   false statements about said press release on the October 19, 2016 earnings call and
    25   in the October 19, 2016 Form 8-K filing;
    26                e.    Fails to analyze or quantify harm suffered by Banc as a result of
    27   the misleading October 18, 2016 press release;
    28

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     1                 f.   Fails to provide an analysis of Plaintiffs' proposed corporate
     2   governance improvements, while writing them off as unnecessary;
     3                 g.   Fails to describe what information was provided by the Joint
     4   Audit Committee to the auditor in connection with the alleged improper bonus
     5   accounting;
     6                 h.   Fails to discuss the alleged motive for the alleged improper
     7   bonus accounting, as described by former executives with alleged personal
     8   knowledge of the matter.
     9         190. Fourth, the Rejection Letter fails to identify what witnesses were
    10   interviewed by the "Ad Hoc" Committee, and whether such witnesses included
    11   directors, officers or employees with relevant knowledge. Instead, it appears the
    12   "Ad Hoc" Committee only reviewed depositions of unidentified witnesses.
    13         191. Fifth, the Rejection Letter fails to identify with any specificity what
    14   documents the "Ad Hoc" Committee reviewed, and whether those documents were
    15   relevant to the specific issues raised in Plaintiffs' Demands. Furthermore, the
    16   Rejection Letter states that the "Ad Hoc" Committee considered "reports and other
    17   documents from prior investigations" without describing these in any detail, who
    18   authored such "reports," what the purposes or conclusions of such investigations
    19   even were, and why it was appropriate for the "Ad Hoc" Committee to rely on them.
    20         192. Sixth, the Rejection Letter claims that the "Ad Hoc" Committee met
    21   seven times. Plaintiffs requested minutes of the relevant meetings to ascertain
    22   information about these meetings, but defendant Sznewajs refused.
    23         193. In sum, the Rejection Letter provided only unsupported conclusions
    24   regarding the Board's procedure, and failed to provide Plaintiffs any meaningful
    25   factual analysis underlying the bases for its conclusions. The Board's investigation
    26   in response to the Demands was unreasonably incomplete and, as a result, the Board
    27   did not act on an informed basis when it rejected the Demands. The refusal
    28   therefore was not a valid exercise of business judgment.

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     1         194. The Board did not conduct a sufficient investigation to inform itself
     2   whether the claims in the Demands had merit. Contrary to the refusal's assertion
     3   that exculpation rights render the claims unworthy of pursuit, there is no
     4   exculpation defense where, as here, there is active and deliberate dishonesty, and
     5   the fiduciaries obtained improper benefits.
     6         195. The Rejection Letter shows the Board simply ignored, or failed to
     7   consider in good faith, the strong evidence demonstrating the merits and probability
     8   of success of the claims against the Individual Defendants.
     9         196. Nor did the Board evaluate whether it would be in Banc's interests to
    10   seek compensation for any of the Individual Defendants' non-exculpable breaches
    11   of the duty of loyalty in light of the chances of success compared to the potential
    12   damages recoverable. It does not appear that any of the Individual Defendants
    13   would be judgment-proof or lacking in assets sufficient to fund a reasonable
    14   settlement of claims or a judgment. A potential recovery could offset Banc's
    15   substantial damages.
    16         197. The Board's failure to empower a true independent committee to
    17   actually exercise the Board's authority, conduct a reasonable investigation, properly
    18   evaluate the merits, apply correct legal standards, evaluate chances for a recovery,
    19   potential amounts recoverable, or even provide to Plaintiffs a report documenting
    20   its supposed investigation cannot be deemed a valid exercise of business judgment
    21   entitled to any presumption of reasonableness and good faith under law.
    22         198. No legal action has been filed by Banc against any of the Individual
    23   Defendants. The primary architects of the scandal detailed herein have been
    24   allowed to remain, resign or retire.
    25         199. Accordingly, Plaintiffs' institution of this action is necessary to
    26   preserve the claims asserted herein for the benefit of the Company.
    27         200. Plaintiffs have not made any demand on the other shareholders of Banc
    28   to institute this action since such demand would be a futile and useless act for at

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     1   least the following reasons: (a) Banc is a publicly held company with over 50
     2   million shares outstanding and thousands of shareholders; (b) making demand on
     3   such a number of shareholders would be impossible for Plaintiffs who have no way
     4   of finding out the names, addresses, or phone numbers of shareholders; and
     5   (c) making demand on all shareholders would force Plaintiffs to incur excessive
     6   expenses, assuming all shareholders could be individually identified.
     7                                 CLAIMS FOR RELIEF
     8                                     COUNT I
     9          Against the Individual Defendants for Breach of Fiduciary Duty

    10         201. Plaintiffs incorporate by reference and reallege each and every
    11   allegation contained above as though fully set forth herein.
    12         202. The Individual Defendants, by reason of their positions as officers and
    13   directors, and because of their ability to control the business and corporate affairs
    14   of Banc, owed to Banc an obligation to act in good faith, in a manner reasonably
    15   believed to be in the best interest of Banc, and with the ordinary care and candor
    16   that a prudent person would use in similar circumstances.
    17         203. The Individual Defendants acted in breach of their fiduciary duties.
    18         204. The Individual Defendants acted with active and deliberate dishonesty
    19   in making, or causing Banc to make, false and misleading statements to
    20   shareholders, the market and the SEC in filings regarding Banc's business and
    21   operations.
    22         205. The Individual Defendants received improper benefits, including
    23   substantial compensation, their continued access thereto and their continued
    24   positions, as a result of their breaches of fiduciary duty.
    25         206. The misconduct of the Individual Defendants is not exculpated under
    26   Maryland or other applicable law.
    27         207. As a direct and proximate result of these breaches, Banc has sustained
    28   significant damages.

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     1         208. As a result of the misconduct alleged herein, these Defendants are
     2   liable to the Company.
     3                                     COUNT II
     4              Against the Individual Defendants for Unjust Enrichment

     5         209. Plaintiffs incorporate by reference and reallege each and every
     6   allegation contained above, as though fully set forth herein.
     7         210. By their wrongful acts and omissions, the Individual Defendants were
     8   unjustly enriched at the expense of and to the detriment of Banc.
     9         211. The Individual Defendants were unjustly enriched as a result of the
    10   compensation and director remuneration they received while breaching fiduciary
    11   duties owed to Banc.
    12         212. Plaintiffs, as shareholders and representatives of Banc, seek restitution
    13   from these defendants, and each of them, and seeks an order of this Court disgorging
    14   all profits, benefits, and other compensation obtained by these defendants, and each
    15   of them, from their wrongful conduct and fiduciary breaches.
    16         213. Plaintiffs, on behalf of Banc, have no adequate remedy at law.
    17                                   PRAYER FOR RELIEF
    18         WHEREFORE, Plaintiffs, on behalf of Banc, demand judgment as follows:
    19         A.     Against all Individual Defendants and in favor of the Company for the
    20   amount of damages sustained by the Company as a result of the Individual
    21   Defendants' misconduct and breaches of fiduciary duties;
    22         B.     Directing Banc to take all necessary actions to reform and improve its
    23   corporate governance and internal procedures to comply with applicable laws and
    24   to protect Banc and its shareholders from a repeat of the damaging events described
    25   herein, including, but not limited to, adopting corporate governance policies to:
    26   (a) strengthen the Company's controls over disclosure and financial reporting;
    27   (b) strengthen the Board's supervision of operations and develop and implement
    28   procedures for greater shareholder input into the policies and guidelines of the

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     1   Board; (c) strengthen Banc oversight of its disclosure procedures; and (d) prevent
     2   or undo self-dealing and related party transactions;
     3         C.       Determining and awarding Banc the damages it sustained as a result
     4   of the violations set forth above and restitution from the Individual Defendants, and
     5   each of them, and ordering disgorgement of all profits, benefits, and other
     6   compensation obtained by the Individual Defendants;
     7         D.       Granting extraordinary equitable and/or injunctive relief as permitted
     8   by law, equity, and state statutory provisions sued hereunder;
     9         E.       Determining and awarding Banc the damages sustained by it as a result
    10   of the Individual Defendants' breaches of fiduciary duties, as set forth above, from
    11   each of the Individual Defendants, jointly and severally, together with interest
    12   thereon; and
    13         F.       Awarding Plaintiffs the costs and disbursements of this action,
    14   including reasonable fees and costs to Plaintiffs' attorneys, accountants, and
    15   experts.
    16                                     JURY DEMAND
    17         Plaintiffs demand a trial by jury on all issues so triable.
    18
    19   Dated: November 22, 2019          By: /s/ Ashley R. Rifkin
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                                        VERIFICATION

             I, Kristopher Gordon, hereby declare as follows:

             I am the plaintiff in the within entitled action. I have read the Verified

   Consolidated Shareholder Derivative Complaint. Based upon discussions with and

   reliance upon my counsel, and as to those facts of which I have personal

   knowledge, the Complaint is true and correct to the best of my knowledge,

   information, and belief.

             I declare under penalty of perjury that the foregoing is true and correct.

             Signed and Accepted:

                                                   Dated:____________________________




                                                                Kristopher Gordon




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